CaS€Z liOZ-Cr-OO_71.9._DOCUI'T1€D'[ #Z 281-2 Filed: 05/21/03 P_HM Of 3 PagelD #2775

UNITED STATES DIS'[`RICT COURT
NORTHERN DISTRICT OF [LL[NOIS

EASTERN DIVISION
uNiTED sTATEs oF AMERICY )
g{?§%* ) 6
v. easy M»;@ No. 02 CR719-1 ,¢?,
2 3 g Judge James F. Hold§(g€§go&
sTEvE LISCANO ‘ ?0@},) 4: .

   

INFORMATION AND NOTICE OF PRIOR CONVICTIONS

The United States of America, by Patrick J. Fitzgerald, United States Attoniey for the
Northcrn District of lllinois, hereby gives notice of its intention to seek and defendant’s
eligibility for an enhancement of sentence in this cause pursuant to Title 21 , United States Code,
Section 851. The United States submits that the defendant shall be sentenced to increased
punishment by reason of the following prior convictions:

l. The defendant was convicted of Possession of a Controlled Substance in the Kane
County Circuit Court on or about July 31, 1995 and sentenced to two years imprisonment

2. The defendant was convicted of Possession of Cannabis in the Kane County Circuit
Court on or about September 15, 1995 and sentenced to fines and costs.

3. The defenth was convicted ofPossession of a Controlled Substance in the Kane

County Circuit Court on or about June 20, 2001 and was sentenced to eighteen months

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_ Case: 1:02-cr-00Bcument #: 281-2 Filed: 05/21/03 Pagiof 3 Page|D #:776

imprisonment

Respectfully submitted,

Patrick J. Fitzgerald
United States Attorney

BY \¢~DOW-..-» § K°W-f____-_

Lawrence S. Beaumont
Assistant United States Attorney
219 South Dearbom St:reet
Room 500

Cbicago, Illinois 6060-4

(312) 353-4280

 

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Imagene Hamilton, being first duly sworn on oath, deposes and
says that she is employed in the Office of the United States
Attorney for the Northern District of Illinois, that on the let
day of ng, 2003, she placed a Copy Of:

INFORMATION AND NOTICE OF PRIDR CQNVICTIONS

in a Government franked envelope addressed to the following named
individual(s), and deposited envelope(s) in the United States mail
Chute, located in the`United States Courthouse, Chicago, Illinois,
On said date at the hour of about 3:30 p.m.

ROBERT A . LOEB

221 North LaSalle Street
Suite 1938

Chicago, IL 60601

VIA FAX §Q. (§L§) 606-9133 and CERTIFIED MAIL

 

SUBSCRIBED AND SWORN TO BEFORE ME
this 215t cf May, 2003.

 

NOTARY PHBLId

 

_ "oFF'ilC:iAL ssat"

Kristine D. Rodriguez
Notary Pub!ic, Stace of lllinois

My Com mission Exp. 10,¢07!2‘096

 

 

 

 

